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 7
 8                  IN THE UNITED STATES DISTRICT COURT FOR THE
 9                        EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )   1:11-CR-00016-AWI
                                           )
12                    Plaintiff,           )   PRELIMINARY ORDER OF FORFEITURE
                                           )
13        v.                               )
                                           )
14   LUIS PUNTOS COAHUILAS,                )
                                           )
15                    Defendant.           )
                                           )
16
17        Based upon the plea agreement entered into between plaintiff
18   United States of America and defendant Luis Puntos Coahuilas, it is
19   hereby ORDERED, ADJUDGED, AND DECREED as follows:
20        1.   Pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §
21   2461(c), defendant Luis Puntos Coahuilas’ interest in the following
22   property shall be condemned and forfeited to the United States of
23   America, to be disposed of according to law:
24             a.    The following items seized from the van of VICTOR
                     PUGA QUIROZ on November 16, 2010:
25
                     1.    Approximately 3,200 DVDs and 772 CDs,
26                   2.    Two Sony DVD players,
                     3.    One Hitachi DVD player,
27                   4.    One Curtis DVD player, and
                     5.    One Sony LCD flat screen television.
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 1          b.    The following items seized from VICTOR PUGA
                  QUIROZ’ residence at 1325 Ensenada Drive,
 2                Modesto, California on November 16, 2010:
 3                1.    Approximately 5,043 DVDs and 202 CDs,
                  2.    Approximately 3 CD and DVD disc replicators,
 4                3.    Approximately 950 blank CD and DVD media,
                  4.    Approximately 3,793 CD and DVD cases, and
 5                5.    One Panasonic digital camera.
 6          c.    The following items seized from VICTOR PUGA
                  QUIROZ’ residence at 207 N. Riverside Drive,
 7                Modesto, California on November 16, 2010:
 8                1.    Approximately 8,701 DVDs and 69,638 CDs,
                  2.    Approximately 5 CD and DVD disc replicators,
 9                3.    Approximately 100 blank CD and DVD media,
                        and
10                4.    Approximately 1,770 CD and DVD cases.
11          d.    Approximately 32,561 DVDs and 168,247 CDs seized
                  from the warehouse at 360 Wooster Ave, San Jose,
12                California on November 23, 2010;
13          e.    The following items seized from the warehouse at
                  360 Wooster Ave, San Jose, California on November
14                23, 2010:
15                1.    CD and DVD cover artwork,
                  2.    Approximately 10,450 blank CD and DVD media,
16                3.    Approximately 15,096 CD and DVD cases,
                  4.    seal bags and wrappers,
17                5.    Approximately 5 CD and DVD disc replicators,
                  6.    HP Studio Jet 50 printer, serial number
18                      MY5A1822C,
                  7.    HP Q2288L printer, serial number MY8985R1C7,
19                8.    Epson Artisan 810 printer, serial number
                        LJDY191711,
20                9.    HP PhotoSmart Plus, serial number CN0F412P4,
                  10.   Gateway NV78 laptop computer, serial number
21                      LXWE802005942023A31601,
                  11.   Compaq Presario 85000NX computer, serial
22                      number MXK3350V0D,
                  12.   “Multi-media computer system” generic
23                      computer,
                  13.   Approximately five internal and external
24                      hard drives,
                  14.   Two Thumb drives,
25                15.   Approximately 142 DVD and CD master disks,
                  16.   One generic, black Computer System,
26                17.   2-Wire gateway router, serial number
                        301019093693,
27                18.   One LG portable CD/DVD drive, serial number
                        009HKAT061664,
28                19.   Approximately 12 cases of blank paper, and



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                                        2              Forfeiture
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 1                     20.   Approximately 5,000 plastic bags.
 2        2.    The above-listed assets constitute or are derived from
 3   proceeds traceable to a violation of 18 U.S.C. § 371 or a conspiracy
 4   to commit such offense.
 5        3.    Pursuant to Rule 32.2(b), the Attorney General (or a
 6   designee) shall be authorized to seize the above-listed property.
 7   The aforementioned property shall be seized and held by the Federal
 8   Bureau of Investigation in their secure custody and control.
 9        4.   a.    Pursuant to 28 U.S.C. § 2461(c), incorporating 21 U.S.C.
10   § 853(n), and Local Rule 171, the United States shall publish notice
11   of the order of forfeiture.     Notice of this Order and notice of the
12   Attorney General’s (or a designee’s) intent to dispose of the
13   property in such manner as the Attorney General may direct shall be
14   posted for at least 30 consecutive days on the official internet
15   government forfeiture site www.forfeiture.gov.        The United States may
16   also, to the extent practicable, provide direct written notice to any
17   person known to have alleged an interest in the property that is the
18   subject of the order of forfeiture as a substitute for published
19   notice as to those persons so notified.
20              b.     This notice shall state that any person, other than
21   the defendant, asserting a legal interest in the above-listed
22   property, must file a petition with the Court within sixty (60) days
23   from the first day of publication of the Notice of Forfeiture posted
24   on the official government forfeiture site, or within thirty (30)
25   days from receipt of direct written notice, whichever is earlier.
26        5.    If a petition is timely filed, upon adjudication of all
27   third-party interests, if any, this Court will enter a Final Order of
28   Forfeiture pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. §



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 1   2461(c), in which all interests will be addressed.
 2   IT IS SO ORDERED.
 3
     Dated:      July 31, 2012
 4   0m8i78                            CHIEF UNITED STATES DISTRICT JUDGE
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                                           4              Forfeiture
